         Case: 23-55276, 03/31/2023, ID: 12686975, DktEntry: 7, Page 1 of 2




                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                        MAR 31 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
LANCE BOLAND, an individual; et al.,           No.    23-55276

                Plaintiffs-Appellees,          D.C. No.
                                               8:22-cv-01421-CJC-ADS
 v.                                            Central District of California,
                                               Santa Ana
ROB BONTA, in his official capacity as
Attorney General of the State of California,   ORDER

                Defendant-Appellant,

and

DOES, 1-10,

                Defendant.

Before: TASHIMA, S.R. THOMAS, and KOH, Circuit Judges.

      The motion (Docket Entry No. 5) to take judicial notice in support of the

opposition to the emergency motion for partial stay is granted.

      The emergency motion (Docket Entry No. 2) to stay in part the district

court’s March 20, 2023 preliminary injunction pending appeal is granted. See

Nken v. Holder, 556 U.S. 418, 434 (2009). The preliminary injunction is stayed as

to the chamber load indicator and magazine disconnect mechanism requirements of

California’s Unsafe Handgun Act. See Cal. Penal Code § 31910(b)(4), (5).

      The opening brief is due April 28, 2023. The answering brief is due May
         Case: 23-55276, 03/31/2023, ID: 12686975, DktEntry: 7, Page 2 of 2




26, 2023. The option reply brief is due within 21 days after service of the

answering brief. See 9th Cir. R. 3.3.

      No streamlined extensions of time will be approved. See 9th Cir. R. 31-

2.2(a)(3). The Clerk will place this on the next available calendar upon the

completion of briefing. See 9th Cir. Gen. Ord. 3.3(f).




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